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                           UNITED STATES DISTRICT COURT
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                        SOUTHERN DISTRICT OF CALIFORNIA
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10   UNITED STATES OF AMERICA,                    Case No.: 21-CR-02709-DMS
11                Plaintiff,
12                                                ORDER AND JUDGMENT
           v.                                     GRANTING MOTION TO
13                                                DISMISS WITH PREJUDICE
14   LORENZO ANDREW LAUMBACH,
15                Defendant
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17        Upon motion by the United States of America, and good cause appearing, it is
18 ordered that this case be dismissed with prejudice pursuant to Fed. R. Crim. P. 48(a).
19        IT IS SO ORDERED.
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21 Dated: September 23, 2021
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